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 1
                                                                     The Honorable Ricardo S. Martinez
 2                                                                         Noted for: January 29, 2021
 3

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 5

 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 8
      JIKIRI BAUTISTA, an individual, ARI
 9    SILVA, an individual;
                                                       NO. 2:18-cv-00757 RSM
10                            Plaintiff,
                                           DECLARATION OF DUNCAN C.
             v.                            TURNER IN SUPPORT OF
11                                         STIPULATED MOTION FOR
      WFS EXPRESS, a Delaware corporation, CERTIFICATION OF SETTLEMENT
12    CONSOLIDATED AVIATION SERVICES, CLASS AND FOR PRELIMINARY
      a New York corporation;              APPROVAL OF CLASS SETTLEMENT
13
                              Defendants.
14

15
     Duncan C. Turner declares and states:
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            1.     I am lead counsel for the plaintiff in this action. I am making this declaration in
17
     support of the Stipulated Motion for Certification of Settlement Class and for Preliminary
18
     Approval of Class Action Settlement (the “Stipulated Motion”). I have personal knowledge of
19
     the matters stated herein and am competent to testify as to the same.
20
            2.     The action was filed in King County Superior Court on April 25, 2018, and then
21

22   removed to federal court on May 25, 2018. At the parties’ request, the Court repeatedly modified

23   its scheduling orders to allow time for additional documentary discovery and analysis. Beginning

24   in June 2019, the Parties began efforts to coordinate a mediation in hopes of resolving the

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                                                                           Seattle, WA 98155
     CERTIFICATION OF SETTLEMENT CLASS AND                                  TEL 206.621.6566
     FOR PRELIMINARY APPROVAL OF CLASS                                      FAX 206.621.9686

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 1   dispute. The Parties agreed to mediate with Judge Steve Scott, ret. The mediation was originally

 2   set for October 23, 2019 but was eventually re-scheduled to February 10, 2020. On February 10,
 3   2020, the Parties participated in a six-hour mediation session with Judge Scott but were unable to
 4
     reach resolution. Following the unsuccessful mediation, counsels for the Parties continued their
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     discovery and settlement efforts, and a Conditional Settlement Agreement was signed on January
 6
     8, 2021. See Exhibit One, attached hereto.
 7
            3.       The settlement negotiations were at all times adversarial, non-collusive, and at
 8
     arm’s length. I believe the settlement is fair, reasonable, adequate, and in the best interests of the
 9
     settlement class, which consists of approximately 943 current and former non-exempt employees
10

11   of Defendants.

12          4.       One aspect of evaluating and investigating this case is consideration of the

13   alternative of the class members pursuing individual actions. A primary consideration was

14   whether a substantial portion of the class would actually pursue their claims, and certain

15   demographic factors of the class suggested that this was unlikely. For those who did pursue their
16   claims, the process would likely be highly inefficient. For a large number of individual lawyers
17
     to research, brief, and oppose the complex preemption defense in individual proceedings, I
18
     estimate that over 100 hours would be required. Even for counsel that understand and have
19
     briefed the common legal issues, mounting and presenting each case would require an estimated
20
     45 to 50 hours of attorney and paralegal time. On the other side, the defense costs would likely
21
     be commensurate. I believe both sides recognize the inefficiency that this would present in the
22
     instant case.
23

24

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 1            5.     To determine the size of the class members, the Plaintiffs sought, and Defendant

 2   provided the relevant timekeeping records from which can be derived the identity of class
 3   members, their regular and overtime hourly wages, and the number of missed or deducted meal
 4
     periods.
 5
              6.     Under the terms of the Settlement Agreement, the Defendants agreed to pay Six
 6
     Hundred and Fifteen Thousand Dollars (the “Gross Settlement Fund”). The Gross Settlement
 7
     Fund represents the negotiated value for missed meal periods, deducted meal periods, meal
 8
     periods outside the hourly periods prescribed by statute, and missed rest periods. The negotiated
 9
     value takes into account the risk that the Plaintiffs would not recover damages for missed rest
10

11   periods, due to a lack of supporting documentary evidence. In addition, the negotiated value also

12   takes into account the risk that Defendants could demonstrate that employees did in fact receive

13   their proper meal periods through testimonial evidence, and that the electronic timekeeping

14   records were incorrect or incomplete. Finally, the settlement also reflects that the Defendants

15   assert that employees would recover nothing for their claims, and would oppose class
16   certification. For these reasons, the proposed settlement of $615,000.00 is a reasonable,
17
     negotiated settlement value.
18
              7.     The class size, according to the Defendants’ timekeeping records, consists of 943
19
     claimants (past and current hourly employees at Defendants’ Seattle-Tacoma International
20
     Airport facility.)1 The Gross Settlement Fund represents the monetary value of missed and
21
     deducted meal periods (approx. $466,000), with additional contributions for attorney’s fees,
22

23

24   1
      See Parties’ proposed class definition for detailed description of factual qualifications for class members. Exhibit
     One, ¶1.1.
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 1   litigation costs, and incentive awards. It is expected that employees will receive approximately

 2   90.3% percent of their regular and overtime hourly wages for missed and deducted meal periods.
 3           8.     The average recovery (before allocation for attorney’s fees and costs) to employees
 4
     is approximately $448.17. The range between the lowest and highest recovery will be determined
 5
     by the number of missed and deducted meal periods reflected on their individual timekeeping
 6
     records. Administration costs will be paid by the Defendants. The Settlement Agreement
 7
     provides that, should ten percent (10%) or more of the class members opt out of the Class,
 8
     Defendants shall have the option of terminating the settlement.
 9
             9.     We are seeking appointment of Badgley Mullins Turner PLLC and the Law Office
10

11   of Abel M. Tsegga, PLLC as class counsel. Mr. Tsegga has filed a separate declaration

12   regarding his background and qualification. Those of me and my firm are described below.

13           10.    I am the managing member of Badgley Mullins Turner PLLC, counsel of record in

14   this matter, and I have served in that position for over 14 years. Prior to joining my current firm,

15   I was an attorney with the Bogle & Gates law firm in Seattle.
16           11.    I am admitted to practice before this court and am a member in good standing of the
17
     bars of the State of Washington and (in an inactive status) the State of Mississippi. I am also
18
     admitted to practice in the Eastern District of Washington; the District of Colorado; the U.S.
19
     Court of Federal Claims; the U.S. Courts of Appeal for the Fifth, Ninth, and Federal Circuits; the
20
     U.S. Tax Court; and the Court of International Trade. I have been “AV” rated by my peers in
21
     Martindale Hubbell in every year in which I have been eligible (approximately 20 years). I was
22
     selected as a Washington “Super Lawyer” by Thomson Reuters in the years 2014, 2015 and
23

24   2016.

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 1          12.   I received my undergraduate degree (Bachelor of Science) from the United States

 2   Military Academy at West Point, N.Y., in 1974. I received a Juris Doctor degree (Magna Cum
 3   Laude) from the University of Mississippi in 1990 and concurrently was awarded a Master of
 4
     Business Administration degree.
 5
            13.   Badgley Mullins Turner PLLC (“BMT”) is a Seattle-based law firm with a broad
 6
     practice that focuses on complex civil and commercial litigation with an emphasis on business
 7
     disputes, employment claims, antitrust litigation, and intellectual property litigation. BMT has
 8
     recent experience acting as co-counsel in the following class actions/putative class actions and
 9
     shareholder derivative cases:
10

11         Eicher v. Advantage OPCO et al                   Western Dist. Washington               2016

12         Hussein et al v. Air Serv Corporation            Western Dist. Washington               2016

13         Hufune et al v. Bags, Inc.                       Western Dist. Washington               2016

14         Abdi v. Avis Budget Group, Inc. et al            Western Dist. Washington               2016

15         Jesse et al v. DAL Global, Inc.                  Western Dist. Washington               2016

16         Ogawa et al v. Dufry AG et al                    Western Dist. Washington               2016

17         Jama et al v. GCA Services Group, Inc.           Western Dist. Washington               2016

18         Jama et al v. Golden Gate America LLC            Western Dist. Washington               2016

19         Hirsi v. The Hertz Corporation                   Western Dist. Washington               2016

20         Nugussie et al v. HMS Host North America         Western Dist. Washington               2016
           et al
21
           Muse v. Huntleigh USA Corporation                Western Dist. Washington               2016
22
           Ali et al v. Menzies et al                       Western Dist. Washington               2016
23
           Abdi et al v. Prospect International Services    Western Dist. Washington               2016
24         Corp.
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 1         Allen, et al. v. Flight Services & Systems,     Western Dist. Washington              2016
           Inc.
 2
           Ahmed et al v. Aircraft Service International   King County, Washington               2016
 3         Group et al
 4         Ali et al v. ATZ, Inc. et al                    King County, Washington               2016
 5         Ahmed v. Fox Rent-A-Car, Inc.                   King County, Washington               2016
 6         Ali v. Consolidated Aviation Services, Inc.,    King County, Washington               2016
 7         Judd et al v. Swissport USA, Inc.               King County, Washington               2016
 8         Israel v. Diamond Parking Svc., Inc.            Western Dist. Washington              2016
 9         DesJardins v. USHEALTH Advisors, LLC            Western Dist. Washington              2016
10         Emerson v. Premera Blue Cross                   Western Dist. Washington              2015
11         Barovic v. Ballmer (Microsoft)                  Western Dist. Washington              2014
12
           Bessent v. Lee (L&L Energy)                     King County, Washington               2013
13
           Rinky Dink, Inc. v. Electronic Merchant         Western Dist. Washington              2013
14         Sytems, Inc.

15         Weinstein v. Kirkman                            Western Dist. Washington              2013

16         Simpson v. Inter-con Security Systems, Inc.     Western Dist. Washington              2012

17         Judd v. AT&T, Inc.                              King County, Washington               2012

18         In re Soda Co. Derivative Litigation            King County, Washington               2007

19

20          14.   To date, BMT has incurred more than 418 labor hours prosecuting this matter. This

21   work includes conducting documentary discovery, contacting putative class members,

22   responding to Defendants’ discovery requests, analyzing Defendants’ documentation and
23   timekeeping records, and participating in settlement discussions. BMT is prepared to continue to
24

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 1   make the requisite investments of time, talent and money to ensure a competent and professional

 2   prosecution of the instant case.
 3          15.   Defendants have agreed to retain a third-party Claims Administrators and to bear all
 4
     of the costs of administering the class settlement
 5
            16.   Plaintiffs seek a modest incentive award of $4,000 each. Although the Plaintiffs
 6
     were not deposed, their contributions were substantial. Their willingness to serve in this capacity
 7
     established a settlement fund in which many of their fellow workers will receive compensation.
 8
            17.   I have attached to this declaration as Exhibit Two a true and correct copy of the
 9
     proposed notice to class members.
10

11

12   I swear under penalty of perjury that the foregoing is true and correct to the best of my

13   knowledge and belief.

14
            DATED this 29th day of January, 2021 at Seattle, Washington
15
                                                   /s/ Duncan C. Turner___________
16                                                 Duncan C. Turner, WSBA # 20597
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